     Case 3:24-cr-00151-MPS          Document 2       Filed 07/18/24    Page 1 of 4




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                          CRIMINAL NO. 3:24CR\.S(

       V.                                         VIOLATION:

DYLAN MEISSNER                                    18 U.S.C. § 1343
                                                  (Wire Fraud)


                                     INFORMATION

       The United States Attorney charges:

                                       COUNT ONE
                                       (Wire Fraud)

                                        Background

       1.      At all relevant times, Company A, whose identity is known to the United

States Attorney, was a cryptocurrency research firm that provided research and analysis

about cryptocurrency to individuals and entities that paid for subscriptions. Subscriptions

could be paid for in United States dollars or cryptocurrency.

       2.      The defendant, DYLAN MEISSNER, began employment with Company A

on or about October 4, 2021, as Vice President of Finance. In that capacity, MEISSNER was

responsible for, among other things, creating head count budgets, working on policy

compliance, and handling Company A expenses. In order to perfonn his job, MEISSNER

was entrusted with access to Company A's cryptocurrency wallets and bank accounts.

       3.      In or about late January 2022, MEISSNER obtained a 50 Ethereum (just over

$170,000) loan from Company A, with the stated intent to use the funds in an attempt to

avoid a substantial loss in certain cryptocurrency investments MEISSNER had made using

his personal funds. MEISSNER has not repaid that loan.
     Case 3:24-cr-00151-MPS           Document 2       Filed 07/18/24     Page 2 of 4




                                        The Scheme

       4.      Beginning on or about February 2, 2022, until his termination on November

10, 2022, in the District of Connecticut and elsewhere, the defendant, DYLAN MEISSNER,

knowingly and with the intent to defraud, devised and engaged in a scheme to defraud

Company A, and to obtain money and property of Company A by means of materially false

and fraudulent pretenses, representations, and promises, and in the furtherance of that

scheme caused the use of interstate wires. The object of the scheme was for MEISSNER to

emich himself at Company A's expense, including to cover and recoup his personal

cryptocun-ency trading losses.

                                      Manner and Means

       5.      It was part of the scheme and artifice that MEISSNER engaged in the

following activities, among others.

       6.      Beginning in approximately February 2022, MEISSNER began to

fraudulently divert Company A funds to his own personal use, without Company A's

knowledge or authorization, in a fmiher attempt to counteract significant personal trading

losses, and then covered up his diversions through false entries in the Company A books and

records. MEISSNER executed the scheme in multiple ways.

       7.      First, MEISSNER misappropriated payments to Company A from its affiliate

company. MEISSNER would record the payments in the Company A ledger as having come

in from its affiliate company, but instead would transfer the funds to a cryptocun-ency wallet

MEISSNER controlled.

       8.      Second, MEISSNER dive1ied funds that were intended for Company A

analyst bonuses. MEISSNER would record the payments in the Company A ledger as having



                                              2
     Case 3:24-cr-00151-MPS         Document 2       Filed 07/18/24     Page 3 of 4




been made to the analysts, but instead would divert the money to himself. MEISSNER would

then make up reasons to the analysts as to why Company A could not pay their bonuses.

        9.     Third, MEISSNER would double the amount of payment owed to a vendor

in Company A's ledger, and then he would take half of the payment for himself and remit

the other half to the vendor.

        10.    And fourth, MEISSNER would pretend to consolidate smaller Company A

cryptocunency wallets that contained so-called cryptocurrency "dust"-small amounts of

cryptocunency that are the byproduct of other transactions-but instead took the funds from

these wallets for himself.

        11.    In total, MEISSNER stole approximately $4,461,828.24 from Company A as

described above. Including the additional $171,596.75 that Company A loaned him,

MEISSNER caused $4,633,424.99 in losses to Company A.

                                 Execution of the Scheme

        12.    On or about September 1, 2022, in execution of the scheme and artifice, in

the District of Connecticut and elsewhere, MEISSNER caused to be transmitted by means

of wire, radio, and television communication in interstate and foreign commerce, certain

writings, signs, signals, pictures, and sounds, that is, MEISSNER, while in the District of

Connecticut, initiated an interstate electronic transfer of $150,000 wmih of cryptocurrency

from a Company A cryptocurrency wallet to a wallet controlled by MEISSNER.




                                             3
   Case 3:24-cr-00151-MPS         Document 2       Filed 07/18/24      Page 4 of 4




     All in violation of Title 18, United States Code, Section 1343.


UNITED STATES OF AMERICA

V~~                               ~~
VANESSA ROBERTS ~
UNITED STATES ATTORNEY



DAYID E. NOVICK
ASSISTANT UNITED STATES ATTORNEY




                                           4
